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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK
 KAREEM NISBETT, Individually and on                 ECF CASE
 behalf of all other persons similarly
 situated,
                                                     No.: ____________________
                   Plaintiff,
                                                     CLASS ACTION COMPLAINT
            v.
                                                     JURY TRIAL DEMANDED
 JORDAN PAIGE FOOD ENTERPRISES,
 INCORPORATED, d/b/a The Food Crate,

                   Defendant.




                                      INTRODUCTION

       1.        Plaintiff Kareem Nisbett, who is legally blind, brings this civil rights action

against Defendant Jordan Paige Food Enterprises, Incorporated, d/b/a The Food Crate

(“Defendant”) for its failure to design, construct, maintain, and operate its website,

www.thefoodcrate.com (the “Website”), to be fully accessible to and independently usable

by Plaintiff Nisbett and other blind or visually-impaired people. Defendant denies full and

equal access to its Website.

       2.        Plaintiff Nisbett, individually and on behalf of others similarly situated,

asserts claims under the Americans With Disabilities Act (“ADA”), New York State

Human Rights Law (“NYSHRL”), and New York City Human Rights Law (“NYCHRL”)

against Defendant.

       3.        Plaintiff Nisbett seeks a permanent injunction to cause Defendant to change

its corporate policies, practices, and procedures so that its Website will become and remain

accessible to blind and visually-impaired consumers.




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                                        THE PARTIES

        4.      Plaintiff Nisbett is, at all relevant times, a resident of the Bronx, New York,

Bronx County. As a blind, visually-impaired handicapped person, he is a member of a

protected class of individuals under Title III of the ADA, under 42 U.S.C. § 12102(1)-(2),

and the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the

NYSHRL and NYCHRL.

        5.      Upon information and belief, Defendant is at all relevant times a foreign

business corporation that is organized under Connecticut law. Upon information and

belief, Defendant is authorized to do business in the State of New York and does business

in the State by advertising to and selling and shipping its products to consumers located

within the State.

                               JURISDICTION AND VENUE

        6.      This Court has subject-matter jurisdiction over this action under 28 U.S.C.

§ 1331 and 42 U.S.C. § 12181, as Plaintiff Nisbett’s claims arise under Title III of the

ADA, 42 U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.

        7.      This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over

Plaintiff Nisbett’s NYSHRL, N.Y. Exec. Law Article 15, and NYCHRL, N.Y.C. Admin.

Code § 8-101 et seq., claims.

        8.      Venue is proper under §1391(b)(2) as a substantial part of the events giving

rise to the claims occurred in this District: Plaintiff Nisbett is a resident of this District; and

he has attempted to access the Website in this District and, in doing so, was denied the full

use and enjoyment of the facilities, goods, and services of the Website while in Bronx

County.




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        9.       This Court is empowered to issue a declaratory judgment under 28 U.S.C.

§§ 2201 and 2202.

        10.      Defendant intentionally markets its products to those in this State and ships

to this State.

                                   NATURE OF ACTION

        11.      Blind and visually impaired users of Windows operating system-enabled

computers and devices have several screen-reading software programs available to them.

Some of these programs are available for purchase and other programs are available

without the user having to purchase the program separately. Job Access With Speech

(“JAWS”) and VoiceOver are the most popular.

        12.      For screen-reading software to function, the information on a website must

be capable of being rendered into text. If the website content is not capable of being

rendered into text, the blind or visually impaired user is unable to access the same content

available to sighted users.

        13.      The international website standards organization, the World Wide Web

Consortium, known throughout the world as W3C, has published version 2.0 of the Web

Content Accessibility Guidelines (“WCAG 2.0”). WCAG 2.0 are well-established

guidelines for making websites accessible to blind and visually impaired people. These

guidelines are universally followed by most large business entities and government

agencies to ensure its websites are accessible.

        14.      For a website to be equally accessible to a blind or visually impaired person,

under these guidelines, it should have following:




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                a.      Alternative text (“alt-text”) or text equivalent for every non-text

element. Alt-text is an invisible code embedded beneath a graphical image on a website.

Web accessibility requires that alt-text be coded with each picture so that screen-reading

software can speak the alt-text where a sighted user sees pictures, which includes captcha

prompts. Alt-text does not change the visual presentation, but instead a text box shows

when the mouse moves over the picture. The lack of alt-text on these graphics prevents

screen readers from accurately vocalizing a description of the graphics, depriving that

person from knowing what is on the website.

                b.      Videos have audio description.

                c.      Title frames with text are provided. Absent these titles, navigating a

website is particularly difficult.

                d.      Webpage headings are properly labeled with the topic or purpose of

the webpage, versus being blank. Screen readers read out page headings, allowing users to

quickly skip to a section. Navigation is, however, very difficult without those headings.

                e.      Equivalent text is provided when using scripts.

                f.      Forms may be completed with the same information and

functionality as for sighted persons. Absent forms being properly labeled, it is difficult for

a visually impaired or blind individual to complete the forms, as they do not know what

the fields, how to input data, or what options to select (e.g., selecting a date or a size). A

compliant website will, instead, provide labels or instructions when content requires user

input. This includes captcha prompts, requiring the user to verity that he or she is not a

robot.




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               g.      Information about the meaning and structure of content is conveyed

by more than the visual presentation of content.

               h.      Web pages do not share the same ID or title. When two or more

elements on a web page share the same ID or title, it cause problems in screen readers

which use IDs for labeling controls and table headings.

               i.      Linked images must contain alt-text explaining the image. Absent

that alt-text, a screen reader has no content to present the user as to what the image is.

               j.      The purpose of each link is easily determined from how the link is

labeled. Absent properly labeling each link or when no description exists, it confuses

keyboard and screen-reader users as they do not know the purpose of the links. This

includes captcha prompts.

               k.      No redundant links where adjacent links go to the same URL

address. When redundant links exist, it causes additional navigation and repetition for

keyboard and screen-reader users.

               l.      Portable Document Formats (PDFs) are accessible. When they are

inaccessible, the visually impaired or blind individual cannot learn what information is on

them.

               m.      One or more keyboard operable user interface has a mode of

operation where the keyboard focus indicator is discernible.

               n.      Changing the setting of a user interface component does not

automatically cause a change of content where the user has not been advised before using

the component.




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               o.       The name and role of all user interface elements can be

programmatically determined; items that can be set by the user can be programmatically

set; and/or notification of changes to these items are available to user agents, including

assistive technology.

                                STATEMENT OF FACTS

Defendant, Its Website And Its Website’s Barriers

       14.     Defendant is an online retailer of prepared food. Through the Website,

customers can purchase food crates such as an Atlantic Steam Pot, Charcuterie and

Fromagerie Crate, and Backyard Grill Crate. Customers can also purchase individual cuts

of meat and fish, sides, soup, hors d’oeuvres, sauces, seasoning, produce and similar items.

All items can be shipped anywhere in the United States or picked up locally in Connecticut.

Customers can then cook or heat up the products at home and serve. Without any brick-

and-mortar stores, the Website is Defendant’s exclusive point of sale.

       15.     Defendant’s Website is heavily integrated with its online retail operations,

serving as a gateway to it. Through the Website, one can learn about the company; learn

about the items available for purchase, including ingredients, proper storage and cooking

or heating instructions; learn about shipping costs and time; and sign up for the newsletter.

       16.     Defendants Website is a commercial marketplace. Through the Website,

customers can purchase items for delivery or purchase a gift card to be used at a later date.

Customers can also, inter alia, create and manage an account, and get contact information.

       17.     It is, upon information and belief, Defendant’s policy and practice to deny

Plaintiff Nisbett and other blind or visually-impaired users access to its Website, thereby

denying the facilities and services that are offered and integrated with Defendant’s online




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retail operations. Due to its failure and refusal to remove access barriers to its Website,

Plaintiff Nisbett and visually-impaired persons have been and are still being denied equal

access to Defendant’s online retail operations and the numerous facilities, goods, services,

and benefits offered to the public through its Website.

       18.     Plaintiff Nisbett cannot use a computer without the assistance of screen-

reading software. He is, however, a proficient JAWS screen-reader user and uses it to

access the Internet. He has visited the Website on separate occasions using screen-reading

software.

       19.     During his visits to the Website, the last occurring on or about July18, 2020,

Plaintiff Nisbett encountered multiple access barriers that denied him the full enjoyment of

the facilities, goods, and services of the Website and the facilities, goods, and services of

Defendant’s online retail operations. Because of these barriers he was unable to,

substantially equal to sighted individuals:

               a.      Know what is on the Website. This is in part due to unlabeled

graphics throughout the Website. On the home page, there are several unlabeled elements,

and no labeled images are detected. On the page “Crates,” there are no images of the

products. A sighted user gets images of every crate. After navigating to a specific crate,

Plaintiff Nisbett again found images to be unlabeled. A sighted user is given multiple

images of the product to better understand quality and packaging, where applicable. For

example, for the “Large Customizable Atlantic Steampot,” a sighted user is given seven

(7) images of the product, in the pot, on serving trays and from a variety of angles. None

of these images are labeled. On the product pages, a sighted user can also see item

highlights and cooking directions by clicking on a tab. When Plaintiff Nisbett clicks on




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the tab there is no use of ARIA to alert him that any new information has loaded and focus

is not redirected. Therefore, he required sighted assistance to locate the new information.

Lastly, Plaintiff Nisbett had difficulty learning about shipping. This is because the

information on states is not always picked up correctly. Some states are read as initials and

others are read as words. The abbreviation for Pennsylvania, for example, is read as “pa.”

               b.      Navigate the Website. Navigating this Website was difficult using a

screen reader. As mentioned above, the Website does not make use of ARIA, therefore,

there is no alert when new information has loaded or when an item has been added to a

screen reader user’s cart. This requires screen reader users to take extra steps to locate

content or to confirm their actions have been successful. The unlabeled elements also make

it difficult to navigate. The elements are not even properly tagged to know what type of

element they are. On the item pages, if there are customizable features, like for the Atlantic

Steampot, for example, the checkboxes are not properly formatted. They are not labeled

or linked to an item. Therefore it is unclear what they refer to and a screen reader user

must guess if the label is before or after the checkbox. There are also issues with screen

reader focus. As mentioned above, same page links or tabs do not redirect focus when

engaged. Alternatively, when items are added to the cart, focus is automatically placed in

the cart without alerting screen reader users.

       20.     Plaintiff Nisbett was denied full and equal access to the facilities and

services Defendant offers to the public on its Website because he encountered multiple

accessibility barriers that visually-impaired people often encounter with non-compliant

websites:

               a.      Lack of alt-text for images.




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               b.      Fieldset elements are not labeled with legend elements.

               c.      Frames do not have a title.

               d.      Form controls have no label.

               e.      Webpages have markup errors.

Defendant Must Remove Barriers to Its Website

        20.    Due to the inaccessibility of its Website, blind and visually-impaired

customers such as Plaintiff Nisbett, who need screen-readers, cannot fully and equally use

or enjoy the facilities, goods, and services Defendant offers to the public on its Website.

The Website’s access barriers that Plaintiff Nisbett encountered have caused a denial of his

full and equal access in the past, and now deter him on a regular basis from accessing the

Website.

        21.    If the Website was equally accessible to all, Plaintiff Nisbett could

independently navigate it, learn about Defendant’s products, including packaging and

presentation, learn about shipping options, and easily customize products, as sighted users

can.

        22.    Through his attempts to use the Website, Plaintiff Nisbett has actual

knowledge of the access barriers that make these services inaccessible and independently

unusable by blind and visually-impaired people.

        23.    Because simple compliance with the WCAG 2.0 Guidelines would provide

Plaintiff Nisbett and other visually-impaired consumers with equal access to the Website,

Plaintiff Nisbett alleges that Defendant has engaged in acts of intentional discrimination,

including, but not limited to, the following policies or practices:




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                  a.     Constructing and maintaining a website that is inaccessible to

visually-impaired individuals, including Plaintiff Nisbett;

                  b.     Failing to construct and maintain a website that is sufficiently

intuitive to be equally accessible to visually-impaired individuals, including Plaintiff

Nisbett; and,

                  c.     Failing to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind and visually impaired consumers, such as

Plaintiff Nisbett, as a member of a protected class.

       24.        Defendant therefore uses standards, criteria or methods of administration

that have the effect of discriminating or perpetuating the discrimination of others, as

alleged herein.

       25.        Title III of the ADA expressly contemplates the injunctive relief that

Plaintiff Nisbett seeks under 42 U.S.C. § 12188(a)(2).

       26.        Because its Website has never been equally accessible, and because

Defendant lacks a corporate policy that is reasonably calculated to cause its Website to

become and remain accessible, Plaintiff Nisbett seeks a permanent injunction under 42

U.S.C. § 12188(a)(2) requiring Defendant to retain a qualified consultant acceptable to

Plaintiff Nisbett to assist Defendant to comply with WCAG 2.0 guidelines for its Website:

                  a.     Remediating the Website to be WCAG 2.0 AA compliant;

                  b.     Training Defendant employees and agents who develop the Website

on accessibility compliance under the WCAG 2.0 guidelines;

                  c.     Regularly checking the accessibility of the Website under the

WCAG 2.0 guidelines;




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               d.      Regularly testing user accessibility by blind or vision-impaired

persons to ensure that Defendant’s Website complies under the WCAG 2.0 guidelines; and,

               e.      Developing an accessibility policy that is clearly disclosed on

Defendant’s Website, with contact information for users to report accessibility-related

problems.

       27.     Although Defendant may currently have centralized policies on maintaining

and operating its Website, Defendant lacks a plan and policy reasonably calculated to make

them fully and equally accessible to, and independently usable by, blind and other visually

impaired consumers.

       28.     Without injunctive relief, Plaintiff Nisbett and other visually impaired

consumers will continue to be unable to independently use the Website, violating its rights.

       29.     Defendant has, upon information and belief, invested substantial sums in

developing and maintaining its Website and has generated significant revenue from the

Website. These amounts are far greater than the associated cost of making its Website

equally accessible to visually impaired customers.

       30.     Defendant has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.

                           CLASS ACTION ALLEGATIONS

       31.     Plaintiff Nisbett seeks to certify a nationwide class under Fed. R. Civ. P.

23(a) and 23(b)(2): all legally blind individuals in the United States who have attempted to

access Defendant’s Website and as a result have been denied access to the enjoyment of

Defendant’s online retail operations during the relevant statutory period (“Class

Members”).




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       32.     Plaintiff Nisbett seeks to certify a State of New York subclass under Fed.

R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in the State of New York who

have attempted to access the Website and as a result have been denied access to the equal

enjoyment of Defendant’s online retail operations during the relevant statutory period

(“New York Subclass Members”).

       33.     Plaintiff Nisbett seeks to certify a New York City subclass under Fed. R.

Civ. P. 23(a) and 23(b)(2): all legally blind individuals in the City of New York who have

attempted to access the Website and as a result have been denied access to Defendant’s

online retail operations during the relevant statutory period (“New York City Subclass

Members”).

       34.     Common questions of law and fact exist amongst the Class Members, New

York Subclass Members and New York City Subclass Members:

               a.      Whether Defendant’s online retail operations are a “public

accommodation” or a service or good “of a place of public accommodation” under Title III

of the ADA;

               b.      Whether Defendant’s Website is a “place or provider of public

accommodation” or an “accommodation, advantage, facility or privilege” under the

NYSHRL or NYCHRL;

               c.      Whether Defendant’s Website denies the full and equal enjoyment

of its goods, services, facilities, privileges, advantages, or accommodations to people with

visual disabilities, violating Title III of the ADA; and




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               d.      Whether Defendant’s Website denies the full and equal enjoyment

of its goods, services, facilities, privileges, advantages, or accommodations to people with

visual disabilities, violating the NYSHRL or NYCHRL.

       35.     Plaintiff Nisbett’s claims are typical of the Class Members, New York

Subclass Members and New York City Subclass Members: they are all severely visually

impaired or otherwise blind, and claim that Defendant has violated Title III of the ADA,

NYSHRL or NYCHRL by failing to update or remove access barriers on its Website so it

can be independently accessible to the visually impaired individuals.

       36.     Plaintiff Nisbett will fairly and adequately represent and protect the Class

and Subclasses’ interests because he has retained and is represented by counsel competent

and experienced in complex class action litigation, and because he has no interests

antagonistic to the Class or Subclasses. Class certification of the claims is appropriate

under Fed. R. Civ. P. 23(b)(2) because Defendant has acted or refused to act on grounds

generally applicable to the Class and Subclasses, making appropriate both declaratory and

injunctive relief with respect to Plaintiff, the Class and Subclasses.

       37.     Alternatively, class certification is appropriate under Fed. R. Civ. P.

23(b)(3) because fact and legal questions common to Class and Subclass Members

predominate over questions affecting only individuals, and because a class action is

superior to other available methods for the fair and efficient adjudication of this litigation.

       38.     Judicial economy will be served by maintaining this lawsuit as a class action

in that it is likely to avoid the burden that would be otherwise placed upon the judicial

system by the filing of numerous similar suits by people with visual disabilities throughout

the United States.




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                          FIRST CAUSE OF ACTION
                 VIOLATIONS OF THE ADA, 42 U.S.C. § 12181 et seq.

       39.      Plaintiff Nisbett, individually and on behalf of the Class Members, repeats

and realleges every allegation of the preceding paragraphs as if fully set forth herein.

       40.      Title III of the ADA prohibits “discriminat[ion] on the basis of disability in

the full and equal enjoyment of the goods, services, facilities, privileges, advantages, or

accommodations of any place of public accommodation by any person who owns, leases

(or leases to), or operates a place of public accommodation.” 42 U.S.C. § 12182(a).

       41.      Defendant’s online retail operations constitute a public accommodation

under Title III of the ADA, 42 U.S.C. § 12181(7). Its Website is a service, privilege, or

advantage that is integrated with its online retail operations.

       42.      Under Title III of the ADA, it is unlawful discrimination to deny individuals

with disabilities the opportunity to participate in or benefit from the goods, services,

facilities, privileges, advantages, or accommodations of an entity. 42 U.S.C. §

12182(b)(1)(A)(i).

       43.      Under Title III of the ADA, it is unlawful discrimination to deny individuals

with disabilities an opportunity to participate in or benefit from the goods, services,

facilities, privileges, advantages, or accommodation, which is equal to the opportunities

afforded to other individuals. 42 U.S.C. § 12182(b)(1)(A)(ii).

       44.      Under Title III of the ADA, unlawful discrimination also includes, among

other things:

       [A] failure to make reasonable modifications in policies, practices, or
       procedures, when such modifications are necessary to afford such goods,
       services, facilities, privileges, advantages, or accommodations to
       individuals with disabilities, unless the entity can demonstrate that making
       such modifications would fundamentally alter the nature of such goods,



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       services, facilities, privileges, advantages or accommodations; and a failure
       to take such steps as may be necessary to ensure that no individual with a
       disability is excluded, denied services, segregated or otherwise treated
       differently than other individuals because of the absence of auxiliary aids
       and services, unless the entity can demonstrate that taking such steps would
       fundamentally alter the nature of the good, service, facility, privilege,
       advantage, or accommodation being offered or would result in an undue
       burden.

42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

       45.      These acts violate Title III of the ADA, and the regulations promulgated

thereunder. Plaintiff Nisbett, who is a member of a protected class of persons under Title

III of the ADA, has a physical disability that substantially limits the major life activity of

sight within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A). Furthermore, he has been

denied full and equal access to the Website, has not been provided services that are

provided to other patrons who are not disabled, and has been provided services that are

inferior to the services provided to non-disabled persons.

       46.      Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth

and incorporated therein, Plaintiff Nisbett requests the relief as set forth below.

                             SECOND CAUSE OF ACTION
                            VIOLATIONS OF THE NYSHRL

       47.      Plaintiff Nisbett, individually and on behalf of the New York Subclass

Members, repeats and realleges every allegation of the preceding paragraphs as if fully set

forth herein.

       48.      N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory

practice for any person, being the owner, lessee, proprietor, manager, superintendent, agent

or employee of any place of public accommodation . . . because of the . . . disability of any




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person, directly or indirectly, to refuse, withhold from or deny to such person any of the

accommodations, advantages, facilities or privileges thereof.”

       49.     Defendant’s online retail operations constitute public accommodations

under N.Y. Exec. Law § 292(9). Defendant’s Website is a service, privilege or advantage

of its online retail operations. Defendant’s Website is a service that is by and integrated

with the online retail operations.

       50.     Defendant is subject to NYSHRL because it owns and operates its online

retail operations and the Website. Defendant is a “person” under N.Y. Exec. Law § 292(1).

       51.     Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or

remove access barriers to its Website, causing its Website and the services integrated with

its online retail operations to be completely inaccessible to the blind. This inaccessibility

denies blind patrons full and equal access to the facilities, goods and services that

Defendant makes available to the non-disabled public.

       52.     Under N.Y. Exec. Law § 296(2)(c)(i), unlawful discriminatory practice

includes, among other things, “a refusal to make reasonable modifications in policies,

practices, or procedures, when such modifications are necessary to afford facilities,

privileges, advantages or accommodations to individuals with disabilities, unless such

person can demonstrate that making such modifications would fundamentally alter the

nature of such facilities, privileges, advantages or accommodations being offered or would

result in an undue burden.”

       53.     Under N.Y. Exec. Law § 296(2)(c)(ii), unlawful discriminatory practice

also includes, “a refusal to take such steps as may be necessary to ensure that no individual

with a disability is excluded or denied services because of the absence of auxiliary aids and




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services, unless such person can demonstrate that taking such steps would fundamentally

alter the nature of the facility, privilege, advantage or accommodation being offered or

would result in an undue burden.”

       54.     Readily available, well-established guidelines exist on the Internet for

making websites accessible to the blind and visually impaired. These guidelines have been

followed by other large business entities and government agencies in making their websites

accessible, including but not limited to: adding alt-text to graphics and ensuring that all

functions can be performed using a keyboard. Incorporating the basic components to make

its Website accessible would neither fundamentally alter the nature of its business nor result

in an undue burden to them.

       55.     Defendant’s actions constitute willful intentional discrimination against the

class because of a disability, violating the NYSHRL, N.Y. Exec. Law § 296(2), in that

Defendant has:

               a.      Constructed and maintained a website that is inaccessible to Class

Members with knowledge of the discrimination; and/or

               b.      Constructed and maintained a website that is sufficiently intuitive

and/or obvious that is inaccessible to blind class members; and/or

               c.      Failed to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind class members.

      56.      Defendant discriminates, and will continue in the future to discriminate

against Plaintiff Nisbett and New York Subclass Members on the basis of disability in the

full and equal enjoyment of the goods, services, facilities, privileges, advantages,

accommodations and/or opportunities of Defendant’s Website and its online retail




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operations under § 296(2) et seq. and/or its implementing regulations. Unless the Court

enjoins Defendant from continuing to engage in these unlawful practices, Plaintiff and the

New York Subclass Members will continue to suffer irreparable harm.

      57.      As Defendant’s actions violate the NYSHRL, Plaintiff Nisbett seeks

injunctive relief to remedy the discrimination.

      58.      Plaintiff Nisbett is entitled to compensatory damages and civil penalties and

fines under N.Y. Exec. Law § 297(4)(c) et seq. for every offense.

      59.      Plaintiff Nisbett is entitled to reasonable attorneys’ fees and costs.

      60.      Under N.Y. Exec. Law § 297 and the remedies, procedures, and rights set

forth and incorporated therein Plaintiff prays for judgment as set forth below.




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                               THIRD CAUSE OF ACTION
                             VIOLATIONS OF THE NYCHRL

          61.   Plaintiff Nisbett, individually and on behalf the New York City Subclass

Members, repeats and realleges every allegation of the preceding paragraphs as if fully set

forth herein.

          62.   The NYCHRL provides that “It shall be an unlawful discriminatory practice

for any person, being the owner, lessee, proprietor, manager, superintendent, agent or

employee of any place or provider of public accommodation, because of . . . disability . . .

directly or indirectly, to refuse, withhold from or deny to such person, any of the

accommodations, advantages, facilities or privileges thereof.” N.Y.C. Admin. Code § 8-

107(4)(a).

          63.   Defendant’s online retail operations are a public accommodation under the

NYCHRL, N.Y.C. Admin. Code § 8-102(9), and its Website is a service that is integrated

with its online retail operations.

          64.   Defendant is subject to NYCHRL because it owns and operates its online

retails operations and its Website, making it a person under N.Y.C. Admin. Code § 8-

102(1).

          65.   Defendant is violating the NYCHRL in refusing to update or remove access

barriers to Website, causing its Website and the services integrated with its online retail

operations to be completely inaccessible to the blind. This inaccessibility denies blind

patrons full and equal access to the facilities, goods, and services that Defendant makes

available to the non-disabled public.

          66.   Defendant is required to “make reasonable accommodation to the needs of

persons with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.]



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from discriminating on the basis of disability shall make reasonable accommodation to

enable a person with a disability to . . . enjoy the right or rights in question provided that

the disability is known or should have been known by the covered entity.” N.Y.C. Admin.

Code § 8-107(15)(a).

       67.     Defendant’s actions constitute willful intentional discrimination against the

Subclass because of a disability, violating the NYCHRL, N.Y.C. Admin. Code § 8-

107(4)(a) and § 8-107(15)(a,) in that it has:

               a.      Constructed and maintained a website that is inaccessible to blind

class members with knowledge of the discrimination; and/or

               b.      Constructed and maintained a website that is sufficiently intuitive

and/or obvious that is inaccessible to blind class members; and/or

               c.      Failed to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind class members.

       68.     As such, Defendant discriminates, and will continue in the future to

discriminate against Plaintiff Nisbett and the New York City Subclass Members because

of disability in the full and equal enjoyment of the goods, services, facilities, privileges,

advantages, accommodations and/or opportunities of its Website and its establishments

under § 8-107(4)(a) and/or its implementing regulations. Unless the Court enjoins

Defendant from continuing to engage in these unlawful practices, Plaintiff and the New

York City Subclass will continue to suffer irreparable harm.

       69.     As Defendant’s actions violate the NYCHRL, Plaintiff Nisbett seeks

injunctive relief to remedy the discrimination.




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       70.     Plaintiff Nisbett is entitled to compensatory damages and civil penalties and

fines for each offense. N.Y.C. Admin. Code §§ 8-120(8), 8-126(a).

       71.     Plaintiff Nisbett is entitled to reasonable attorneys’ fees and costs.

       72.     Under N.Y.C. Admin. Code § 8-120 and § 8-126 and the remedies,

procedures, and rights set forth and incorporated therein Plaintiff prays for judgment as set

forth below.

                             FOURTH CAUSE OF ACTION
                               DECLARATORY RELIEF

       73.     Plaintiff Nisbett, individually and on behalf the Class Members, repeats and

realleges every allegation of the preceding paragraphs as if fully set forth herein.

       74.     An actual controversy has arisen and now exists between the parties in that

Plaintiff Nisbett contends, and is informed and believes that Defendant denies, that its

Website contains access barriers denying blind customers the full and equal access to the

goods, services and facilities of its Website and by extension its online operations, which

Defendant owns, operates and controls, fails to comply with applicable laws including, but

not limited to, Title III of the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq.,

N.Y. Exec. Law § 296, et seq., and N.Y.C. Admin. Code § 8-107, et seq. prohibiting

discrimination against the blind.

       75.     A judicial declaration is necessary and appropriate now in order that each

of the parties may know its respective rights and duties and act accordingly.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Nisbett respectfully requests this Court grant the

following relief:




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               a.      A preliminary and permanent injunction to prohibit Defendant from

violating Title III of the ADA, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq.,

N.Y.C. Admin. Code § 8-107, et seq., and the laws of New York;

               b.      A preliminary and permanent injunction requiring Defendant to take

all the steps necessary to make its Website into full compliance with the requirements set

forth in Title III of the ADA, and its implementing regulations, so that the Website is

readily accessible to and usable by blind individuals;

               c.      A declaration that Defendant owns, maintains and/or operates the

Website in a manner that discriminates against the blind and which fails to provide access

for persons with disabilities as required by ADA, 42 U.S.C. §§ 12182, et seq., N.Y. Exec.

Law § 296, et seq., N.Y.C. Admin. Code § 8-107, et seq., and the laws of New York

               d.      An order certifying the Class and Subclasses under Fed. R. Civ. P.

23(a) & (b)(2) and/or (b)(3), appointing Plaintiff as Class Representative, and his attorneys

as Class Counsel;

               e.      Compensatory damages in an amount to be determined by proof,

including all applicable statutory damages, punitive damages and fines;

               f.      Pre- and post-judgment interest;

               g.      An award of costs and expenses of this action together with

reasonable attorneys’ and expert fees; and

               h.      Such other and further relief as this Court deems just and proper.




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                           DEMAND FOR TRIAL BY JURY

       Pursuant to Fed. R. Civ. P. 38(b), Plaintiff Nisbett demands a trial by jury on all

questions of fact the Complaint raises.

Dated: New York, New York
       July 23, 2021

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